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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF
PENNSYLVANIA by and through
Lawrence S. Krasner, District Attorney of
the County of Philadelphia,

                      Plaintiff,                        CIVIL ACTION

                                                        NO. 24-5823
       v.


ELON MUSK, et. al.,

                      Defendants.



                                       ORDER

      AND NOW, this 1st day of November, 2024, upon consideration of the

Defendants’ Notice of Removal (ECF No. 1), the Plaintiff’s Emergency Motion for

Remand (ECF No. 3), and Defendants’ Response (ECF No. 7), it is ORDERED that the

Motion is GRANTED. This case is REMANDED to the Philadelphia County Court of

Common Pleas.

      The Clerk of Court shall close the case.




                                                   BY THE COURT:



                                                    /s/ Gerald J. Pappert
                                                    Gerald J. Pappert, J.
